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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   HUGO CESAR TOSCANO-CASZRES,                        No. 1:09-cr-00272-DAD
12                      Petitioner,
13           v.                                         ORDER FOR OPPOSITION
14   UNITED STATES OF AMERICA,
15                      Respondent.
16

17           Petitioner Hugo Cesar Toscano-Caszres is a federal prisoner who has filed a pro se motion

18   for clarification, which appears to be a petition for writ of habeas corpus under 28 U.S.C. § 2241

19   for an improper calculation of sentence credits. (See Doc. No. 391.)1 In his most recent request

20   for clarification, deemed by the court to be a petition for habeas relief, petitioner appears to

21   contend that although his federal sentence in this action was imposed to run concurrently with the

22   state sentence he was serving, he is not being given credit for the eighteen month sentence he

23   served in the Santa Clara County Jail. (Id.)

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     1
      The court had previously denied petitioner’s motion for a reduction of his sentence under 18
28   U.S.C. § 3582(c)(2). (Doc. Nos. 377, 388 & 392.)
                                                    1
     Case 1:09-cr-00272-DAD-BAM Document 393 Filed 05/15/17 Page 2 of 2


 1           Having reviewed the motion on file, the court finds resolution of this matter will be aided

 2   by the filing of a response by the government. Accordingly, within forty-five days of electronic

 3   service of this order, the government shall file and serve a response to the pending motion.

 4   IT IS SO ORDERED.
 5
        Dated:     May 12, 2017
 6                                                        UNITED STATES DISTRICT JUDGE

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